                                                                                               Filed: 1/29/2021 11:03 AM
                  Case 3:21-cv-01083-S Document 1-2 Filed 05/12/21                 Page 1 of 3Rhonda
                                                                                                 PageID
                                                                                                     Hughey,10
                                                                                               District Clerk
                                                                                               Kaufman County, Texas
                                                                                               Susan Cook Mendoza
                                                       NO. 106747-86

             WELLS FARGO BANK, NA                                   §         IN THE DISTRICT COURT
                                                                    §
                              Plaintiff                             §
                                                                    §
                                                                    §
             v.                                                     §       86TH JUDICIAL DISTRICT
             JUDICIAL DISTRICT                                      §
                                                                    §
             JOSE CASTANEDA                                         §
                              Defendant                             §         KAUFMAN COUNTY,
                                                                    §         TEXAS


                                          DEFENDANT’S ORIGINAL ANSWER

                     NOW COMES Jose Castaneda (“Defendant”) and file this Original Answer in response

             Wells Fargo Bank, NA (“Plaintiff’”) Original Petition.

                                                          I.
                                                    GENERAL DENIAL

             1.      Defendant denies generally the allegations contained in Plaintiff’s Original Petition and

             demand strict proof thereof as required by Tex. R. Civ. P. 92.

                                                        II.
                                               AFFIRMATIVE DEFENSES

             2.      Plaintiff’s Original Petition is barred by an arbitration agreement.

             3.      Defendant is not liable to Plaintiff because Plaintiff lacks standing to sue.

             4.      Defendant is not liable to Plaintiff because Plaintiff was not a party to the original

             transaction.

             5.      Defendant is not liable to Plaintiff because Plaintiff’s claim for breach of contract is

             barred by the four-year statute of limitations.

             6.      Defendant is not liable to Plaintiff for the amount of damages claimed because Defendant

             is entitled to offset.

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             7.      Defendant is not liable to Plaintiff because the agreement does not comply with the

             requirements of the statute of frauds.

                                                      JURY DEMAND

             8.      Defendant demands a jury trial and shall tender the appropriate jury fee within the time

             and procedures prescribed under Tex. R. Civ. P. Rule 504.1.

                     WHEREFORE, PREMISES CONSIDERED, Defendant Jose Castaneda prays that

             Plaintiff takes nothing by its suit, and such other relief to which Defendant may be entitled.



             DATED: January 29, 2021                          Respectfully submitted,


                                                              By: /s/ Shawn Jaffer
                                                                 Shawn Jaffer
                                                                 State Bar No.24107817
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                                               CERTIFICATE OF SERVICE

               This is to certify that a true and correct copy of the foregoing document has been forwarded on

               January 29, 2021 to:


                   VIA EMAIL:
                   Wells Fargo Bank, NA
                   Mark Rechner
                   1601 Elm Street, Ste. 4100
                   Dallas, Texas 75201
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                   ATTORNEYS FOR
                   WELLS FARGO BANK, NA


                                                                        By: /s/ Shawn Jaffer
                                                                            Shawn Jaffer




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